 4:17-cr-03109-JMG-CRZ    Doc # 44   Filed: 09/27/17   Page 1 of 1 - Page ID # 77




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                Plaintiffs,                             4:17CR3109

     vs.
                                                          ORDER
JUAN JESUS NAVA,

                Defendant.



     IT IS ORDERED:

     1)    The motion of Thomas R. Lamb to withdraw as counsel of record for
           Defendant Juan Jesus Nava, (Filing No. 43), is granted.

     2)    Defendant’s newly retained counsel, Thomas J. Olsen, shall
           promptly notify Defendant of the entry of this order.

     3)    The clerk shall delete Thomas R. Lamb from any future ECF
           notifications herein.

     Dated this 27th day of September, 2017.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
